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                  8 LLC; Capitol Records, LLC; Universal Music
                    Corp.; Songs of Universal, Inc.; PolyGram
                  9 Publishing, Inc.; Universal Music – MGB NA
                    LLC; and Universal Music – Z Tunes LLC
                 10
                 11                        UNITED STATES DISTRICT COURT
                 12                       CENTRAL DISTRICT OF CALIFORNIA
                 13
                 14 UMG Recordings, Inc.; Roc-A-Fella             CASE NO. 2:18-cv-9709
                    Records, LLC; Capitol Records, LLC;
                 15 Universal Music Corp.; Songs of               COMPLAINT FOR COPYRIGHT
                    Universal, Inc.; PolyGram Publishing,         INFRINGEMENT; VIOLATION
                 16 Inc.; Universal Music – MGB NA LLC;           OF CALIFORNIA CIVIL CODE
                    and Universal Music – Z Tunes LLC             § 980(2); VIOLATION OF
                 17                                               CALIFORNIA BUSINESS AND
                                 Plaintiffs,                      PROFESSIONS CODE § 17200;
                 18                                               AND COMMON LAW UNFAIR
                           v.                                     COMPETITION
                 19
                    iBus Media Limited, and DOES 1                Demand For Jury Trial
                 20 through 10, inclusive,
                 21               Defendants.
                 22
                 23         Plaintiffs UMG Recordings, Inc.; Roc-A-Fella Records, LLC; Capitol
                 24 Records, LLC; Universal Music Corp.; Songs of Universal, Inc.; PolyGram
                 25 Publishing, Inc.; Universal Music – MGB NA LLC; and Universal Music – Z
                 26 Tunes LLC (collectively, “Plaintiffs”), by their undersigned attorneys, for their
                 27 Complaint against Defendant iBus Media Limited (“iBus Media” or “Defendant”),
    Mitchell     28 aver as follows:
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                  1                            PRELIMINARY STATEMENT
                  2         1.     Plaintiffs are some of the world’s leading record labels and music
                  3 publishers, and are engaged in the business of acquiring, administering, licensing,
                  4 and otherwise exploiting a catalog of copyrights in and to sound recordings and
                  5 musical compositions, owned in whole or in part by Plaintiffs. Plaintiffs’ catalog
                  6 of copyrighted musical works is extremely valuable and encompasses works
                  7 composed or famously performed by a wide array of legendary songwriters and
                  8 artists, including both contemporary hits and influential standards.
                  9         2.     iBus Media is a global content creation and technology company that,
                 10 among other things, owns and operates the website located at
                 11 www.pokernews.com (“PokerNews”). PokerNews is, in turn, the self-proclaimed
                 12 “largest poker media site in the world.” Among the content made available by
                 13 iBus Media on PokerNews, and through other forums, are hundreds of podcasts
                 14 that intentionally incorporate significant portions of Plaintiffs’ copyrighted musical
                 15 works.
                 16         3.     iBus Media does not have any license or other authorization from
                 17 Plaintiffs to reproduce, distribute, adapt or publicly perform in the United States
                 18 any of Plaintiffs’ copyrighted musical works. Accordingly, iBus Media is liable
                 19 for its infringement of Plaintiffs’ copyright interests, either because it has directly
                 20 engaged in infringing activities or because it is secondarily liable for infringing
                 21 activities undertaken by others.
                 22         4.     iBus Media surely is aware that its conduct constitutes copyright
                 23 infringement, given that it is a sophisticated global operation that runs what it
                 24 claims to be the largest poker website in the world. Moreover, iBus Media was
                 25 notified that it was infringing Plaintiffs’ copyrighted works nearly three years ago.
                 26 Nevertheless, iBus Media continues to infringe. iBus Media’s infringement is
                 27 therefore willful and deliberate.
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                  1         5.     Its conduct has caused and continues to cause substantial, manifest,
                  2 and irreparable harm to Plaintiffs, while enriching iBus Media at Plaintiffs’
                  3 expense and to the detriment of the copyrighted musical works owned and/or
                  4 controlled by Plaintiffs. By this lawsuit, Plaintiffs seek to bring iBus Media’s
                  5 conduct to a stop and to obtain compensation for the harm iBus Media has caused
                  6 and continues to cause to Plaintiffs.
                  7                            JURISDICTION AND VENUE
                  8         6.     This is a civil action seeking damages and injunctive relief for
                  9 copyright infringement under the Copyright Act, 17 U.S.C. § 101 et seq.
                 10         7.     This Court has jurisdiction over this action pursuant to 17
                 11 U.S.C. §§ 101 et seq., 28 U.S.C. §§ 1331, 1338, and 1367.
                 12         8.     As further detailed below, this Court has personal jurisdiction over
                 13 Defendant because, among other things, Defendant has engaged and is engaged in
                 14 tortious conduct within the State of California and in this District, including by
                 15 reproducing, distributing, preparing derivative works based upon, and publicly
                 16 performing Plaintiffs’ copyrighted works within the State of California.
                 17 Additionally, among other things, (a) Defendant has maintained a business
                 18 presence in the State of California and is doing or has been doing business
                 19 continuously in the State of California and this District, (b) a substantial part of the
                 20 wrongful acts committed by Defendant have occurred in interstate commerce, in
                 21 the State of California, and in the Central District of California, and (c)
                 22 Defendant’s conduct causes injury to, and is directed at, Plaintiffs and their
                 23 intellectual property within the State of California.
                 24         9.     Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b)
                 25 and (c). Defendant conducts business in this District and, upon information and
                 26 belief, a substantial part of the events giving rise to Plaintiffs’ claims occurred in
                 27 this District. Plaintiffs have their principal places of business in this District and
    Mitchell     28 have been injured in this District as a result of Defendant’s infringing conduct.
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                  1                                    THE PARTIES
                  2         10.   Plaintiff UMG Recordings, Inc. (“UMG Recordings”) is a corporation
                  3 duly organized and existing under the laws of the State of Delaware, with its
                  4 principal place of business within the County of Los Angeles, California.
                  5         11.   Plaintiff Roc-A-Fella Records, LLC (“Roc-A-Fella”) is a limited
                  6 liability company duly organized and existing under the laws of the State of New
                  7 York, with its principal place of business within the County of Los Angeles,
                  8 California.
                  9         12.   Plaintiff Capitol Records, LLC (“Capitol”) is a limited liability
                 10 company duly organized and existing under the laws of the State of Delaware, with
                 11 its principal place of business within the County of Los Angeles, California.
                 12         13.   Plaintiffs UMG Recordings, Roc-A-Fella, and Capitol collectively are
                 13 referred to herein as the “Record Company Plaintiffs.”
                 14         14.   The Record Company Plaintiffs are engaged in the business of
                 15 producing sound recordings and distributing, selling, and/or licensing the
                 16 reproduction, distribution, sale, preparation of derivative works based upon, and
                 17 performance of their sound recordings in phonorecords (as defined in 17 U.S.C. §
                 18 101), in audiovisual works, and for streaming (i.e., performing) and downloading
                 19 over the Internet and through other mediums. The Record Company Plaintiffs
                 20 invest substantial money, time, effort, and creative talent in discovering and
                 21 developing recording artists, and in creating, advertising, promoting, selling, and
                 22 licensing sound recordings embodying the performances of their exclusive
                 23 recording artists and their unique and valuable sound recordings.
                 24         15.   The Record Company Plaintiffs own copyrights and/or exclusive
                 25 rights in and to their sound recordings including many of the most popular sound
                 26 recordings in the world, including by way of example, the recordings identified on
                 27 Schedule A hereto, incorporated herein by reference. The Record Company
    Mitchell     28 Plaintiffs have obtained or applied for certificates of copyright registration in each
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                  1 of the recordings, including but not limited to those identified on Schedule A. The
                  2 Record Company Plaintiffs also own exclusive rights in certain sound recordings,
                  3 including the sound recordings listed on Schedule B, for which they owns rights
                  4 under state law (together with the recordings listed in Schedule A, the
                  5 “Recordings”). As the owner of copyrights in the Recordings, the Record
                  6 Company Plaintiffs possess the exclusive rights, among other things, to reproduce
                  7 the Recordings in copies or phonorecords, to prepare derivative works based upon
                  8 the Recordings, to distribute copies or phonorecords of the Recordings to the
                  9 public, to perform the Recordings publicly by means of a digital audio
                 10 transmission and to license these exclusive rights, including over the Internet.
                 11         16.   Plaintiff Universal Music Corp. (“Universal Music”) is a corporation
                 12 duly organized and existing under the laws of the State of Delaware, with its
                 13 principal place of business within the County of Los Angeles, California.
                 14         17.   Plaintiff Songs of Universal, Inc. (“Songs of Universal”) is a
                 15 corporation duly organized and existing under the laws of the State of California,
                 16 with its principal place of business within the County of Los Angeles, California.
                 17         18.   Plaintiff PolyGram Publishing, Inc. (“PolyGram”) is a corporation
                 18 duly organized and existing under the laws of the State of Delaware, with its
                 19 principal place of business within the County of Los Angeles, California.
                 20         19.   Plaintiff Universal Music – MGB NA LLC (“MGB”) is a limited
                 21 liability company duly organized and existing under the laws of the State of
                 22 California, with its principal place of business within the County of Los Angeles,
                 23 California.
                 24         20.   Plaintiff Universal Music – Z Tunes LLC (“Z Tunes”) is a limited
                 25 liability company duly organized and existing under the laws of the State of New
                 26 York, with its principal place of business within the County of Los Angeles,
                 27 California.
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                  1         21.   Plaintiffs Universal Music, Songs of Universal, PolyGram, MGB, and
                  2 Z Tunes collectively are referred to herein as the “Music Publisher Plaintiffs.”
                  3         22.   The Music Publisher Plaintiffs are music publishers, engaged in the
                  4 business of acquiring, owning, publishing, administering, licensing, and otherwise
                  5 exploiting copyrights in musical compositions. Plaintiffs invest substantial money,
                  6 time, effort, and creative talent to acquire, administer, publish, license, and
                  7 otherwise exploit such copyrights, on their own behalves and on behalf of
                  8 songwriters and other music publishers with whom they have contractual
                  9 relationships.
                 10         23.   The Music Publisher Plaintiffs own or administer (in whole or in part)
                 11 copyrights and/or exclusive rights in and to thousands of musical compositions,
                 12 including by way of example those compositions identified on Schedule C hereto,
                 13 incorporated herein by reference (the “Musical Compositions”). The Music
                 14 Publisher Plaintiffs have obtained or have applied for certificates of copyright
                 15 registrations issued by the Copyright Office in each of the Musical Compositions
                 16 identified on Schedule C. As the owners or administrators of copyrights (in whole
                 17 or in part) in these Musical Compositions, the Music Publisher Plaintiffs possess
                 18 the exclusive rights, among other things, to reproduce the Musical Compositions in
                 19 copies or phonorecords, to prepare derivative works based upon the Musical
                 20 Compositions, to distribute copies or phonorecords of the Musical Compositions to
                 21 the public, and to perform the Musical Compositions publicly.
                 22         24.   Defendant iBus Media is company registered in the Isle of Man that
                 23 purports to maintain a “truly global presence” with at least five global offices,
                 24 including one in California. Plaintiffs are informed and believe, and on that basis
                 25 aver, that iBus Media is a content provider and website operator and is in the
                 26 business of producing, distributing, publicly performing, selling, licensing, and
                 27 otherwise exploiting audio and visual content. Among other things, iBus Media, or
    Mitchell     28 its affiliated group of companies, owns and operates the website located at
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                  1 www.pokernews.com, which is directed at and accessible throughout the United
                  2 States and in the State of California.
                  3         25.    The true names and capacities, whether individual, corporate,
                  4 associate, or otherwise, of defendants sued herein as Does 1 through 10, inclusive,
                  5 are unknown to Plaintiffs, which sues said defendants by such fictitious names (the
                  6 “Doe Defendants”). If necessary, Plaintiffs will seek leave to amend this
                  7 Complaint to state their true names and capacities. Plaintiffs are informed and
                  8 believe, and on that basis aver, that the Doe Defendants are liable to Plaintiffs as a
                  9 result of their participation in all or some of the acts hereinafter set forth (all of the
                 10 Defendants, including the Doe Defendants, collectively are referred to as
                 11 “Defendants”).
                 12         26.    Plaintiffs are informed and believe, and on that basis aver, that at all
                 13 times mentioned in this Complaint, each of the Defendants was the agent of each
                 14 of the other Defendants and, in doing the things averred in this Complaint, was
                 15 acting within the course and scope of such agency.
                 16                      FACTS APPLICABLE TO ALL CLAIMS
                 17         27.    iBus Media is the owner and operator of the website
                 18 www.pokernews.com (“PokerNews”). iBus Media describes PokerNews as “the
                 19 largest poker media site in the world” and “the world’s leading poker website.”
                 20 According to iBus Media, PokerNews is “considered to be the most complete
                 21 poker resource available on the internet.” PokerNews contains a great deal of
                 22 content, including news, videos, strategy guides, live reporting, and podcasts,
                 23 largely focused on the poker industry. As claimed on PokerNews itself, “visitors
                 24 will find a daily dose of articles with the latest poker news, live reporting from
                 25 tournaments, exclusive videos, podcasts and so much more.”
                 26         28.    Pokernews contains a great deal of material that was either written or
                 27 otherwise prepared in the United States and California, or that is directly targeted
    Mitchell     28 towards audiences in the United States and California. This material includes
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                  1 coverage of poker events in California, videos filmed at events in California,
                  2 podcasts created or recorded in California, and articles regarding the status of
                  3 legalization of poker in California.
                  4        29.    iBus Media also employs or has employed individuals in the United
                  5 States and California that support the operation of and creation of content for
                  6 Pokernews. These employees include an editor for Pokernews that is based in Los
                  7 Angeles, California, and multiple employees in Nevada and other locations
                  8 throughout the United States, including the “Head of Video and Podcasting.” iBus
                  9 Media also maintained an office in San Diego during the period of infringement as
                 10 alleged herein. iBus Media has also applied for and obtained multiple trademark
                 11 registrations related to PokerNews in the United States.
                 12        30.    In addition to the website, iBus Media also owns, operates and
                 13 distributes a mobile application called “PokerNews.Com” (the “PokerNews App”).
                 14 The PokerNews App contains much of the same content available on PokerNews,
                 15 including the podcasts. The PokerNews App is available for download both
                 16 through the iTunes App Store, and the Google Play app store.
                 17        31.    A large portion of the content available through PokerNews and the
                 18 PokerNews App consists of hundreds of podcasts discussing various issues relating
                 19 to poker.
                 20        32.    In addition to being made available for streaming through PokerNews
                 21 and the PokerNews App, these podcasts are also made available to audiences in the
                 22 United States and California for streaming and/or download by iBus Media
                 23 through audioBoom, iTunes, Spotify, Google Play, and Stitcher.
                 24        33.    In numerous of the podcasts, iBus Media incorporated significant
                 25 portions of Plaintiffs’ copyrighted works (the “Infringing Podcasts”). In each of
                 26 the Infringing Podcasts, Plaintiffs’ copyrighted works are prominently featured and
                 27 undoubtedly used with the intention of making the podcasts more appealing to
    Mitchell     28 listeners.
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                  1         34.   Upon information and belief, iBus Media profits from the Infringing
                  2 Podcasts by, among other things, directly or indirectly pairing the Infringing
                  3 Podcasts with advertising or otherwise using the Infringing Podcasts to draw
                  4 audiences to its other profit-making enterprises.
                  5         35.   By incorporating Plaintiffs’ copyrighted works into the Infringing
                  6 Podcasts, and then making those Infringing Podcasts available to the public for
                  7 streaming and/or download, all without any license or authorization from
                  8 Plaintiffs, iBus Media is infringing Plaintiffs’ exclusive rights to reproduce,
                  9 prepare derivative works based upon, distribute, and publicly perform the works
                 10 listed in Schedules A, B, and C incorporated herewith. This infringement includes,
                 11 but is not limited to, (i) adapting Plaintiffs’ copyrighted works to create new,
                 12 unauthorized derivate works (i.e., the Infringing Podcasts); (ii) uploading the
                 13 Infringing Podcasts to its own computer servers and the computer servers of third-
                 14 party hosting services; and (iii) transmitting the Infringing Podcasts to consumers
                 15 of iBus Media’s content via streaming digital public performance. Schedule D to
                 16 this Complaint, which is also incorporated herein by reference, is a representative
                 17 sample of the Infringing Podcasts, and also identifies the copyright work infringed
                 18 in each such Infringing Podcast.
                 19         36.   While Schedule D contains hundreds of examples of infringements,
                 20 Plaintiffs are continuing their investigation into the scope of iBus Media’s
                 21 infringement. Plaintiffs are informed and believe, and on that basis aver, that
                 22 further investigation will reveal many more sound recordings and musical
                 23 compositions owned and/or controlled by Plaintiffs, in whole or in part, that are
                 24 being unlawfully exploited by iBus Media. Plaintiffs expressly reserve the right to
                 25 amend this Complaint to assert additional claims for infringement of Plaintiffs’
                 26 copyrighted works as it uncovers such infringement during the course of discovery
                 27 in this action.
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                  1         37.    Plaintiffs first discovered certain of the infringing conduct of iBus
                  2 Media almost three years ago. Prior to that date, Plaintiffs did not know of, and
                  3 had no reason to know of, iBus Media’s infringing conduct.
                  4         38.    iBus Media was expressly notified that it was infringing content
                  5 owned by Plaintiffs no later than December 2015. Despite receiving such
                  6 notification, iBus Media continues to include infringing content in its podcasts.
                  7         39.    While iBus Media claims to have taken steps to remove certain of the
                  8 infringing content, upon information and belief, content continues to be made
                  9 available by iBus Media.
                 10         40.    Plaintiffs are informed and believe, and on that basis aver, that iBus
                 11 Media is well aware that its conduct constitutes copyright infringement. Defendant
                 12 is a sophisticated entity that derives significant income from the exploitation of the
                 13 content it distributes, including the Infringing Podcasts, and is fully familiar with
                 14 applicable copyright laws.
                 15         41.    On Pokernews, iBus Media even expressly proclaims that “All
                 16 Content published by PokerNews on the Site (apart from User-submitted Content),
                 17 including, without limitation, images, photographs, graphics, animations, videos,
                 18 audio and text . . . are owned by PokerNews and/or its licensors and is protected by
                 19 copyright and other intellectual property or other proprietary rights.” Nevertheless,
                 20 iBus Media has continued to produce and make available infringing content,
                 21 despite receiving express notice that its conduct is prohibited. As such, Defendant
                 22 knows that music cannot be copied, adapted, distributed, sold, and publicly
                 23 performed without a license.
                 24                                        COUNT I
                 25                           COPYRIGHT INFRINGEMENT
                 26               [By The Record Company Plaintiffs Against Defendants]
                 27         42.    Plaintiffs incorporate by this reference each and every averment
    Mitchell     28 contained in paragraphs 1 through 41, inclusive.
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                  1         43.   By the acts set forth above, Defendants have infringed the Record
                  2 Company Plaintiffs’ copyrights in the Recordings, including by reproducing,
                  3 distributing, adapting, and digitally publicly performing the Recordings without
                  4 authorization, in violation of the Copyright Act, 17 U.S.C. §§ 106 and 501.
                  5         44.   Each such infringement by Defendants of the Recordings constitutes a
                  6 separate and distinct act of infringement.
                  7         45.   Defendants’ acts of infringement are willful, in disregard of and with
                  8 indifference to the rights of the Record Company Plaintiffs.
                  9         46.   As a direct and proximate result of the infringements by Defendants,
                 10 the Record Company Plaintiffs are entitled to damages and to Defendants’ profits
                 11 in amounts to be proven at trial, and which are not currently ascertainable.
                 12 Alternatively, the Record Company Plaintiffs are entitled to maximum statutory
                 13 damages of $150,000 for each copyright infringed, or in such other amount as may
                 14 be proper under 17 U.S.C. § 504(c).
                 15         47.   The Record Company Plaintiffs further are entitled to their attorneys’
                 16 fees and full costs pursuant to 17 U.S.C. § 505.
                 17         48.   As a result of Defendants’ acts and conduct, the Record Company
                 18 Plaintiffs have sustained and will continue to sustain substantial, immediate, and
                 19 irreparable injury, for which there is no adequate remedy at law. The Record
                 20 Company Plaintiffs are informed and believe, and on that basis aver, that unless
                 21 enjoined and restrained by this Court, Defendants will continue to infringe the
                 22 Record Company Plaintiffs’ rights in the Recordings. The Record Company
                 23 Plaintiffs are entitled to temporary, preliminary, and permanent injunctive relief to
                 24 restrain and enjoin Defendants’ continuing infringing conduct.
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                  1                                       COUNT II
                  2                          COPYRIGHT INFRINGEMENT
                  3               [By The Music Publisher Plaintiffs Against Defendants]
                  4         49.   Plaintiffs incorporate by this reference each and every averment
                  5 contained in paragraphs 1 through 41, inclusive.
                  6         50.   By the acts set forth above, Defendants have infringed the Music
                  7 Publisher Plaintiffs’ copyrights in the Musical Compositions by reproducing,
                  8 adapting, distributing, and publicly performing the Musical Compositions without
                  9 authorization, in violation of the Copyright Act, 17 U.S.C. §§ 106 and 501.
                 10         51.   Each such infringement by Defendants of the Musical Compositions
                 11 constitutes a separate and distinct act of infringement.
                 12         52.   Defendants’ acts of infringement are willful, in disregard of and with
                 13 indifference to the rights of the Music Publisher Plaintiffs.
                 14         53.   As a direct and proximate result of the infringements by Defendants,
                 15 the Music Publisher Plaintiffs are entitled to damages and to Defendants’ profits in
                 16 amounts to be proven at trial, and which are not currently ascertainable.
                 17 Alternatively, the Music Publisher Plaintiffs are entitled to maximum statutory
                 18 damages of $150,000 for each copyright infringed, or in such other amount as may
                 19 be proper under 17 U.S.C. § 504(c).
                 20         54.   The Music Publisher Plaintiffs further are entitled to their attorneys’
                 21 fees and full costs pursuant to 17 U.S.C. § 505.
                 22         55.   As a result of Defendants’ acts and conduct, the Music Publisher
                 23 Plaintiffs have sustained and will continue to sustain substantial, immediate, and
                 24 irreparable injury, for which there is no adequate remedy at law. The Music
                 25 Publisher Plaintiffs are informed and believe, and on that basis aver, that unless
                 26 enjoined and restrained by this Court, Defendants will continue to infringe the
                 27 Music Publisher Plaintiffs’ rights in the Musical Compositions. The Music
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                  1 Publisher Plaintiffs are entitled to temporary, preliminary, and permanent
                  2 injunctive relief to restrain and enjoin Defendants’ continuing infringing conduct.
                  3                                      COUNT III
                  4               VIOLATION OF CALIFORNIA CIVIL CODE § 980(2)
                  5               [By The Record Company Plaintiffs Against Defendants]
                  6         56.    Plaintiffs incorporate by this reference each and every averment
                  7 contained in paragraphs 1 through 41, inclusive.
                  8         57.    The Record Company Plaintiffs own exclusive ownership interests
                  9 pursuant to California Civil Code § 980(a)(2) and under the common law in and to
                 10 the sound recordings identified in the representative list attached hereto as
                 11 Schedule B, among many other such sound recordings that the Recording
                 12 Company Plaintiffs own and which they are informed and believe, and on that
                 13 basis aver, that Defendants have infringed, to be identified in discovery.
                 14         58.    As set forth in more detail above, Defendants have, without
                 15 permission, reproduced and distributed the sound recordings or portions thereof in
                 16 podcasts as reflected on Schedule D. Additionally, the Record Company Plaintiffs
                 17 are informed and believe, and on that basis aver, that Defendants have, without
                 18 permission, reproduced, distributed, and adapted a substantial number of additional
                 19 sound recordings protected under state law and owned by the Record Company
                 20 Plaintiffs.
                 21         59.    As a direct and proximate result of Defendants’ conduct in violation
                 22 of the Record Company Plaintiffs’ exclusive ownership interests in and to their
                 23 sound recordings owned pursuant to state law, Defendants have received proceeds
                 24 and the Record Company Plaintiffs have been damaged in an amount to be proved
                 25 at trial.
                 26         60.    Defendants’ conduct is causing and, unless enjoined and restrained by
                 27 this Court, will continue to cause the Record Company Plaintiffs great and
    Mitchell     28 irreparable injury that cannot fully be compensated or measured in money. The
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                  1 Record Company Plaintiffs have no adequate remedy at law. The Record
                  2 Company Plaintiffs are entitled to preliminary and permanent injunctions
                  3 prohibiting further infringements of its exclusive rights.
                  4         61.    Defendants are guilty of oppression, fraud and/or malice and the
                  5 Record Company Plaintiffs, in addition to their actual damages are, by reason
                  6 thereof, entitled to recover exemplary and punitive damages against Defendants.
                  7                                      COUNT IV
                  8        VIOLATION OF CALIFORNIA BUSINESS AND PROFESSIONS
                  9         CODE § 17200 AND COMMON LAW UNFAIR COMPETITION
                 10               [By The Record Company Plaintiffs Against Defendants]
                 11         62.    Plaintiffs incorporate by this reference each and every averment
                 12 contained in paragraphs 1 through 41, inclusive.
                 13         63.    The foregoing acts and conduct of Defendants constitute
                 14 misappropriation, conversion, and invasion of the Record Company Plaintiffs’
                 15 property rights in and to the sound recordings that they own pursuant to state law
                 16 and which Defendants have infringed, to be identified in discovery, in addition to
                 17 the representative sample reflected in Schedule B hereto. The foregoing acts and
                 18 conduct of Defendants constitute unfair competition under California Business and
                 19 Professions Code § 17200 and under the common law. If necessary, the Record
                 20 Company Plaintiffs will amend this Complaint to add additional claims under state
                 21 law once the specific identities of all of the sound recordings infringed by
                 22 Defendants are determined, or, alternatively, will provide such information
                 23 pursuant to Fed. R. Civ. P. 26 and/or in discovery.
                 24         64.    As a direct and proximate result of Defendants’ conduct, the Record
                 25 Company Plaintiffs are entitled to recover all proceeds and other compensation
                 26 received or to be received by Defendants arising from their infringements of the
                 27 Record Company Plaintiffs’ sound recordings owned pursuant to state law. The
    Mitchell     28
  Silberberg &
   Knupp LLP
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                                           COMPLAINT FOR COPYRIGHT INFRINGEMENT
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                  1 Record Company Plaintiffs requests that the Court order Defendants to render an
                  2 accounting to ascertain the amount of such profits and compensation.
                  3         65.   As a direct and proximate result of Defendants’ unfair competition,
                  4 the Record Company Plaintiffs have been damaged and Defendants have been
                  5 unjustly enriched, in an amount that shall be proved at trial for which damages,
                  6 restitution, and/or disgorgement is appropriate. Such damages, restitution, and/or
                  7 disgorgement should include a declaration by this Court that Defendants are
                  8 constructive trustees for the benefit of the Record Company Plaintiffs and an order
                  9 that Defendants convey to the Record Company Plaintiffs all the gross receipts
                 10 received or to be received that are attributable to infringement of the Record
                 11 Company Plaintiffs’ sound recordings owned pursuant to state law.
                 12         66.   Defendants’ conduct is causing and, unless enjoined and restrained by
                 13 this Court, will continue to cause the Record Company Plaintiffs’ great and
                 14 irreparable injury that cannot fully be compensated or measured in money. The
                 15 Record Company Plaintiffs have no adequate remedy at law. The Record
                 16 Company Plaintiffs are entitled to preliminary and permanent injunctions
                 17 prohibiting further infringements of its exclusive rights.
                 18         67.   Defendants are guilty of oppression, fraud and/or malice and the
                 19 Record Company Plaintiffs, in addition to their actual damages are, by reason
                 20 thereof, entitled to recover exemplary and punitive damages against Defendants.
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  Silberberg &
   Knupp LLP
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                                          COMPLAINT FOR COPYRIGHT INFRINGEMENT
           Case 2:18-cv-09709-SJO-JEM Document 1 Filed 11/16/18 Page 16 of 42 Page ID #:16



                  1         WHEREFORE, Plaintiffs pray for judgment against Defendants, and each of
                  2 them, jointly and severally, as follows:
                  3        1.      For a preliminary and permanent injunction enjoining and restraining
                  4 Defendants and their respective agents, servants, directors, officers, principals,
                  5 employees, representatives, subsidiaries and affiliated companies, successors,
                  6 assigns, and those acting in concert with them or at their direction from directly or
                  7 indirectly infringing in any manner any right in any and all copyrighted works (or
                  8 portions thereof), whether now in existence or later created, in which any Plaintiff
                  9 (including its parents, subsidiaries, affiliates, or distributed labels) owns or controls
                 10 an exclusive right under Section 106 of the United States Copyright Act (17 U.S.C.
                 11 § 106) or state law, including without limitation by directly or indirectly copying,
                 12 reproducing, downloading, distributing, communicating to the public, uploading,
                 13 linking to, transmitting, publicly performing, or otherwise exploiting in any
                 14 manner any of Plaintiffs’ Recordings or Musical Compositions, including but not
                 15 limited to those set forth in Schedules A, B and C to the Complaint; and
                 16         2.     On Counts I and II, for:
                 17                (a)    Defendants’ profits and damages in such amount as may be
                 18 determined; alternatively, for maximum statutory damages in the amount of
                 19 $150,000 with respect to each copyrighted work infringed, or for such other
                 20 amount as may be proper pursuant to 17 U.S.C. § 504(c); and
                 21                (b)    Plaintiffs’ attorneys’ fees and full costs; and
                 22         3.     On Counts III and IV, for an accounting, the imposition of a
                 23 constructive trust, restitution of Defendants’ unlawful proceeds, and damages
                 24 according to proof;
                 25         3.     On Counts III and IV, for punitive and exemplary damages in such
                 26 amount as may be awarded at trial;
                 27         4.     For prejudgment interest according to law; and
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  Silberberg &
   Knupp LLP
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                  1       5.   For such other and further relief as the Court may deem just and
                  2 proper.
                  3
                  4 DATED: November 16, 2018 Mitchell Silberberg & Knupp LLP
                  5
                  6                                   By:     /s/ Aaron M. Wais
                  7                                          David A. Steinberg
                                                             Aaron M. Wais
                  8                                          Bradley J. Mullinw
                                                             Attorneys for Plaintiffs
                  9                                          UMG Recordings, Inc.; Roc-A-Fella
                                                             Records, LLC; Capitol Records, LLC;
                 10                                          Universal Music Corp.; Songs of
                                                             Universal, Inc.; PolyGram Publishing,
                 11                                          Inc.; Universal Music – MGB NA LLC;
                                                             and Universal Music – Z Tunes LLC
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    Mitchell     28
  Silberberg &
   Knupp LLP
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                  1                                  JURY DEMAND
                  2        Plaintiffs UMG Recordings, Inc.; Roc-A-Fella Records, LLC; Capitol
                  3 Records, LLC; Universal Music Corp.; Songs of Universal, Inc.; PolyGram
                  4 Publishing, Inc.; Universal Music – MGB NA LLC; and Universal Music – Z
                  5 Tunes LLC hereby demand a trial by jury on all matters and issues so triable.
                  6
                  7 DATED: November 16, 2018             MITCHELL SILBERBERG & KNUPP LLP
                  8
                  9                                      By:     /s/ Aaron M. Wais
                 10                                             David A. Steinberg
                                                                Aaron M. Wais
                 11                                             Bradley J. Mullins
                                                                Attorneys for Plaintiffs
                 12                                             UMG Recordings, Inc.; Roc-A-Fella
                                                                Records, LLC; Capitol Records, LLC;
                 13                                             Universal Music Corp.; Songs of
                                                                Universal, Inc.; PolyGram Publishing,
                 14                                             Inc.; Universal Music – MGB NA LLC;
                                                                and Universal Music – Z Tunes LLC
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    Mitchell     28
  Silberberg &
   Knupp LLP
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                                         COMPLAINT FOR COPYRIGHT INFRINGEMENT
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                        EXHIBIT A




                                                         Exhibit A, Page 19
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                                                    SCHEDULE A



                   Title                  Artist                 Plaintiff            Copyright
                                                                                     Registration
                                                                                       Number


            Ain't No Love In The       Bobby Bland        UMG Recordings, Inc.      N00000016419,
             Heart Of The City                                                      RE0000867280

             All Of The Lights          Kanye West        Roc-A-Fella Records,      SR0000683430
                                                                 LLC
                  All Star             Smash Mouth        UMG Recordings, Inc.      SR0000264519

                 Ba Bump            The Black Eyed Peas   UMG Recordings, Inc.      SR0000378166

            Bohemian Like You       The Dandy Warhols     Capitol Records, LLC      SR0000285787

                 Champion               Kanye West        Roc-A-Fella Records,      SR0000615020
                                                                 LLC

              Ch-Check It Out          Beastie Boys       Capitol Records, LLC      SR0000360352

                 Clap Back                Ja Rule         UMG Recordings, Inc.      SR0000345007

            Drop It Like It's Hot      Snoop Dogg         UMG Recordings, Inc.      SR0000362084

             Every Little Thing         The Police        UMG Recordings, Inc.      SR0000030222
             She Does Is Magic

                 Good Life              Kanye West        Roc-A-Fella Records,      SR0000615020
                                                                 LLC

               Good Morning             Kanye West        Roc-A-Fella Records,      SR0000615020
                                                                 LLC

               Heard 'Em Say            Kanye West        Roc-A-Fella Records,      SR0000380526
                                                                 LLC

               Here For You            Gorgon City        UMG Recordings, Inc.      SR0000746174

               Homecoming               Kanye West        Roc-A-Fella Records,      SR0000615020
                                                                 LLC

              I Know You Got         Eric B. & Rakim      UMG Recordings, Inc.      SR0000082471
                   Soul




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                                                                             Exhibit A, Page 20
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                                           SCHEDULE A



                  Title          Artist                  Plaintiff            Copyright
                                                                             Registration
                                                                               Number



            Kid Charlemagne    Steely Dan          UMG Recordings, Inc.     N00000032362,
                                                                            RE0000908461

             Make Her Say       Kid Cudi           UMG Recordings, Inc.     SR0000641951

             Money Maker        Ludacris           UMG Recordings, Inc.     SR0000398765

                 Mosh           Eminem             UMG Recordings, Inc.     SR0000362156

              Outstanding     The Gap Band         UMG Recordings, Inc.     SR0000036081

              Paradise City   Guns N` Roses        UMG Recordings, Inc.     SR0000085358

                 Power         Kanye West          Roc-A-Fella Records,     SR0000683430
                                                          LLC

            So Long Goodbye      Sum 41            UMG Recordings, Inc.     SR0000609704

            The Number Song    DJ Shadow           UMG Recordings, Inc.     SR0000755373

            Thought @ Work      The Roots          UMG Recordings, Inc.     SR0000314538

             Touch The Sky     Kanye West          Roc-A-Fella Records,     SR0000380526
                                                          LLC

             What They Do       The Roots          UMG Recordings, Inc.     SR0000226398

             White Wedding      Billy Idol         Capitol Records, LLC     SR0000039673

            Won't Back Down     Eminem             UMG Recordings, Inc.     SR0000653572




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                         EXHIBIT B




                                                         Exhibit B, Page 22
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                                            SCHEDULE B



                     Title                      Artist                    Plaintiff




                Baba O'Riley                  The Who               UMG Recordings, Inc.
              Magic Carpet Ride        Steppenwolf, Philip Steir    UMG Recordings, Inc.

             Pennies From Heaven            Frank Sinatra           Capitol Records, LLC

            Pretty Little Angel Eyes          Curtis Lee            Capitol Records, LLC

                Sweet Caroline              Neil Diamond            UMG Recordings, Inc.




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                                                                   Exhibit B, Page 23
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                        EXHIBIT C




                                                         Exhibit C, Page 24
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                                                 SCHEDULE C



                   Title                Artist                Plaintiff            Copyright
                                                                                  Registration
                                                                                    Number


            Ain't No Love In The     Bobby Bland       Universal Music Corp.       EU 513011
             Heart Of The City

             Kid Charlemagne          Steely Dan       Universal Music Corp.       EU 679291

                 Clap Back             Ja Rule          Songs of Universal,       PA 1 245 426
                                                               Inc.

              Ch-Check It Out        Beastie Boys      PolyGram Publishing,       PA 1 268 095
                                                              Inc.

              Touch The Sky          Kanye West          Universal Music -        PA 1 162 460
                                                          MGB NA LLC

                   Sirius          The Alan Parsons      Universal Music -        PA-144-129
                                       Project            MGB NA LLC

              Friends In Low        Garth Brooks         Universal Music -        PA-485-587
                  Places                                  MGB NA LLC

                   I Can                 Nas            Universal Music - Z       PA1-262-441
                                                            Tunes LLC

                We In Here              DMX             Songs of Universal,      PA 1-389-846
                                                       Inc., Universal Music
                                                               Corp.

                 Good Life           Kanye West         Universal Music - Z       PA 1 935 936
                                                            Tunes LLC

                 Superstar           Lupe Fiasco         Universal Music -       PA 1-914-364
                                                          MGB NA LLC

                   Magic               B.O.B.           Songs of Universal,       PA 1 731 007
                                                               Inc.




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                                                                          Exhibit C, Page 25
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                                                SCHEDULE C



                   Title              Artist                    Plaintiff            Copyright
                                                                                    Registration
                                                                                      Number


            Show Goes On, The       Lupe Fiasco            Universal Music -       PA 1 740 705
                                                            MGB NA LLC

            All Of The Lights       Kanye West           Universal Music Corp.     PA 1 783 122

              Make Her Say           Kid Cudi              Songs of Universal,     PA 1-692-979
                                                         Inc., Universal Music -
                                                             MGB NA LLC

            Words I Never Said      Lupe Fiasco            Songs of Universal,     PA 1 739 113
                                                         Inc., Universal Music -
                                                             MGB NA LLC

              Coming Home        Diddy-Dirty Money         Songs of Universal,     PA 1 751 168
                                                         Inc., Universal Music -
                                                             MGB NA LLC

               Trillionaire           Bun B              Universal Music Corp.,    PA 1 787 161
                                                           Universal Music -
                                                            MGB NA LLC

                   Hero                Nas                 Songs of Universal,     PA 1-396-112
                                                         Inc., Universal Music -
                                                             MGB NA LLC

                 Milli, A           Lil Wayne             Universal Music - Z      PA 1 395 759
                                                              Tunes LLC

                One Time           Justin Bieber           Songs of Universal,     PA 1 816 046
                                                         Inc., Universal Music -
                                                             MGB NA LLC

              Star Is Born, A          Jay-Z              Songs of Universal,      PA 1 920 104
                                                                 Inc.

               I Want You            Common               Songs of Universal,      PA 1-629-220
                                                                 Inc.




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                                                                            Exhibit C, Page 26
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                                              SCHEDULE C



                  Title              Artist                 Plaintiff            Copyright
                                                                                Registration
                                                                                  Number


                 Changes             2 Pac            Universal Music Corp.,   PA 1 070 591
                                                        Universal Music -
                                                         MGB NA LLC

               Paris, Tokyo       Lupe Fiasco           Universal Music -      PA0001913904
                                                         MGB NA LLC

            Thugz Mansion (Nas       2 Pac              Universal Music -      PA0001115085
                Acoustic)                                MGB NA LLC

                  Crazy          Gnarls Barkley         Universal Music -      PA0001165223
                                                         MGB NA LLC




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                        EXHIBIT D




                                                         Exhibit D, Page 28
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                                           SCHEDULE D

                  Infringing Podcast Title       Song Title                    Artist
            1.    2008 APT Day 2 Update          The Number Song               DJ Shadow
            2.    2008 Barcelona EPT Main        White Wedding                 Billy Idol
                  Event Day 1 Begins
            3.    2009 APPT Auckland: Player
                  Party                          Thought @ Work                The Roots
            4.    40 Years of WSOP - Part 2 of   Baba O'Riley                  The Who
                  3
            5.    APPT Opening Party 2008        Ba Bump                       The Black Eyed Peas
            6.    Aussie Millions 2012:
                  Bloopers!                      Pretty Little Angel Eyes      Curtis Lee
            7.    Calling the Clock on Gloria
                  Balding - 2009 WSOP            It Takes Two                  Rob Base
            8.    Can you do... ?                Magic Carpet Ride             Steppenwolf, Philip
                                                                               Steir
            9.    Daniel Negreanu la 2009
                  World Series Poker
                  ROMANIAN INTERVIEW             I Know You Got Soul           Eric B. & Rakim
            10.   Day 2 at the APPT Macau        Outstanding                   The Gap Band
                  2008
            11.   Drinks on Chad feat. Andy
                  Frankenberger                  I WANT YOU                    Common
            12.   Good Bye Amanda                So Long Goodbye               Sum 41
            13.   GPI Update #8: Schemion
                  Takes POY Lead; Selbst
                  Breaks GPI 300 Top 10          MONEY MAKER                   Ludacris
            14.   GPI Update Episode #23: All
                  Hail the King                  MONEY MAKER                   Ludacris
            15.   Grant Levy                     The Number Song               DJ Shadow
            16.   High Stakes at the APT 2008    The Number Song               DJ Shadow
            17.   JAQK Cellars                   Pennies From Heaven           Frank Sinatra
            18.   Kirk Morrison - Missing        Every Little Thing She Does   The Police
                  Tiffany- but Loving            Is Magic
                  Barcelona
            19.   LAPT Playa Conchal 2009:
                  Andre Akkari                   Paradise City                 Guns N` Roses
            20.   LAPT Playa Conchal 2009:
                  Angel Guillen (Español)        Paradise City                 Guns N` Roses
            21.   LAPT Playa Conchal 2009:
                  Carlos Giron                   Paradise City                 Guns N` Roses
            22.   LAPT Playa Conchal 2009:
                  Daniel ''djaniel'' Mar         Paradise City                 Guns N` Roses
            23.   LAPT Playa Conchal 2009:
                  Day 2 Update                   Paradise City                 Guns N` Roses
            24.   LAPT Playa Conchal 2009:       Paradise City                 Guns N` Roses



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                                                                        Exhibit D, Page 29
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                                            SCHEDULE D

                  Infringing Podcast Title        Song Title           Artist
                  Day 3 Update
            25.   LAPT Playa Conchal 2009:
                  Final Table Preview             Paradise City        Guns N` Roses
            26.   LAPT Playa Conchal 2009:
                  Fred Dykes Takes a Monster
                  Lead                            Paradise City        Guns N` Roses
            27.   LAPT Playa Conchal 2009:
                  Humberto & Roberto Brenes       Paradise City        Guns N` Roses
            28.   LAPT Playa Conchal 2009:
                  JC Alvarado                     Paradise City        Guns N` Roses
            29.   LAPT Playa Conchal 2009:
                  Maridu Mayrinck                 Paradise City        Guns N` Roses
            30.   LAPT Playa Conchal 2009:
                  Rogelio Pardo (Español)         Paradise City        Guns N` Roses
            31.   LAPT Playa Conchal 2009:
                  Rory ''AJ'' Graham              Paradise City        Guns N` Roses
            32.   LAPT Playa Conchal 2009:
                  Victor Ramdin                   Paradise City        Guns N` Roses
            33.   LAPT Playa Conchal 2009:
                  What To Do When You
                  Bust?                           Paradise City        Guns N` Roses
            34.   LAPT Playa Conchal 2009:
                  William Reynolds                Paradise City        Guns N` Roses
            35.   Planned Chaos feat. Jason
                  Mecier and Dan O’Brien          SHOW GOES ON, THE    Lupe Fiasco
            36.   Planned Chaos feat. Jason
                  Mecier and Dan O’Brien          SUPERSTAR            Lupe Fiasco
            37.   PokerNews Cup 2009: Dave        All Star             Smash Mouth
                  Lee
            38.   PokerNews Cup VIP Cruise        What They Do         The Roots
            39.   PokerNews GPI Update #20:
                  Selbst Soars                    MONEY MAKER          Ludacris
            40.   PokerNews GPI Update #21:
                  The Return                      MONEY MAKER          Ludacris
            41.   PokerNews GPI Update #30:
                  2015 Kickoff                    MONEY MAKER          Ludacris
            42.   PokerNews GPI Update #9:
                  Schemion Leads the Top 300;
                  Players of the Decade           MONEY MAKER          Ludacris
            43.   PokerNews GPI Update
                  Episode #1: Intro to the
                  Podcast, Phil Ivey Falls, and
                  More                            MONEY MAKER          Ludacris
            44.   PokerNews GPI Update            MONEY MAKER          Ludacris




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                                          SCHEDULE D

                  Infringing Podcast Title      Song Title         Artist
                  Episode #11: O Canada
            45.   PokerNews GPI Update
                  Episode #12: Hellmuth the
                  Egalitarian                   MONEY MAKER        Ludacris
            46.   PokerNews GPI Update
                  Episode #13: Merson’s
                  Climbing                      MONEY MAKER        Ludacris
            47.   PokerNews GPI Update
                  Episode #14: New POY
                  Leader                        MONEY MAKER        Ludacris
            48.   PokerNews GPI Update
                  Episode #15: Negreanu Back
                  on Top                        MONEY MAKER        Ludacris
            49.   PokerNews GPI Update
                  Episode #16: Negreanu
                  Plummets                      MONEY MAKER        Ludacris
            50.   PokerNews GPI Update
                  Episode #18: WSOP Fantasy
                  Poker Manger News             MONEY MAKER        Ludacris
            51.   PokerNews GPI Update
                  Episode #19: WSOP Kickoff     MONEY MAKER        Ludacris
            52.   PokerNews GPI Update
                  Episode #22: Muking it Up     MONEY MAKER        Ludacris
            53.   PokerNews GPI Update
                  Episode #24: Smith Remains
                  On Top                        MONEY MAKER        Ludacris
            54.   PokerNews GPI Update
                  Episode #25: Selbst Returns
                  to the Top 10                 MONEY MAKER        Ludacris
            55.   PokerNews GPI Update
                  Episode #26: Smith and
                  Colman Separate               MONEY MAKER        Ludacris
            56.   PokerNews GPI Update
                  Episode #27: Colman Takes
                  the Lead                      MONEY MAKER        Ludacris
            57.   PokerNews GPI Update
                  Episode #28: Barer With Me    MONEY MAKER        Ludacris
            58.   PokerNews GPI Update
                  Episode #3: Mercier Falls
                  Out of the Top 10; Hellmuth
                  Takes a Hit                   MONEY MAKER        Ludacris
            59.   PokerNews GPI Update
                  Episode #31: American Poker
                  Awards                        MONEY MAKER        Ludacris
            60.   PokerNews GPI Update          MONEY MAKER        Ludacris



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                                            SCHEDULE D

                  Infringing Podcast Title        Song Title           Artist
                  Episode #32: Cookie Jar Jams
            61.   PokerNews GPI Update
                  Episode #33: APA Recap,
                  EPA Discussion, and More        MONEY MAKER          Ludacris
            62.   PokerNews GPI Update
                  Episode #34: Global Poker
                  Masters Preview and More        MONEY MAKER          Ludacris
            63.   PokerNews GPI Update
                  Episode #35: Global Poker
                  Masters Recap, New POY
                  Leader                          MONEY MAKER          Ludacris
            64.   PokerNews GPI Update
                  Episode #36: EPT Grand
                  Final and Mispronunciations     MONEY MAKER          Ludacris
            65.   PokerNews GPI Update
                  Episode #37: We’re Back!        MONEY MAKER          Ludacris
            66.   PokerNews GPI Update
                  Episode #38: Zinno Can’t
                  Extend His Lead                 MONEY MAKER          Ludacris
            67.   PokerNews GPI Update
                  Episode #39: Giving Thanks      MONEY MAKER          Ludacris
            68.   PokerNews GPI Update
                  Episode #5: Daniel Negreanu
                  Tops the POY and GPI 300        MONEY MAKER          Ludacris
            69.   PokerNews GPI Update
                  Episode #6: A Shorr Thing       MONEY MAKER          Ludacris
            70.   PokerNews Podcast Episode
                  #113: WSOP Hangover feat.
                  Amit Makhija                    WE IN HERE           DMX
            71.   PokerNews Podcast Episode
                  #117: It’s Good to be King
                  feat. Dan Smith                 CHAMPION             Kanye West
            72.   PokerNews Podcast Episode
                  #117: It’s Good to be King
                  feat. Dan Smith                 MILLI, A             Lil Wayne
            73.   PokerNews Podcast Episode
                  #124: The French Girl’s Mine
                  feat. Rob Salaburu              WON'T BACK DOWN      Eminem
            74.   PokerNews Podcast Episode
                  #125 Back in Vegas feat.
                  Jonathan Aguiar                 I CAN                Nas
            75.   PokerNews Podcast Episode
                  #127: The Return of Full Tilt
                  Poker feat. Greg Merson         CHAMPION             Kanye West
            76.   PokerNews Podcast Episode       HEARD 'EM SAY        Kanye West



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                                            SCHEDULE D

                  Infringing Podcast Title        Song Title              Artist
                  #128: Back to School feat.
                  Jake Balsiger
            77.   PokerNews Podcast Episode
                  #149: Ultimate Ultimatum
                  feat. Antonio Esfandiari        ALL OF THE LIGHTS       Kanye West
            78.   PokerNews Podcast Episode
                  #153: Welcome to the 2013                               The Alan Parsons
                  WSOP                            SIRIUS                  Project
            79.   PokerNews Podcast Episode
                  #174: Darvin Moon is on the
                  Lineup feat. Nolan Dalla        TOUCH THE SKY           Kanye West
            80.   PokerNews Podcast Episode
                  #178: EPT Barcelona feat.
                  Steven Silverman and Daniel     AIN'T NO LOVE IN THE
                  Negreanu                        HEART OF THE CITY       Bobby Bland
            81.   PokerNews Podcast Episode
                  #189: No Oatmeal for You
                  feat. Mohsin Charania           HOMECOMING              Kanye West
            82.   PokerNews Podcast Episode
                  #203: The Nug Life feat. Ty     THUGZ MANSION (NAS
                  Stewart                         ACOUSTIC)               2 Pac
            83.   PokerNews Podcast Episode
                  #227 feat. Matt Glantz          Touch The Sky           Kanye West
            84.   PokerNews Podcast Episode
                  #227: Cream to the Crop feat.
                  Matt Glantz                     TOUCH THE SKY           Kanye West
            85.   PokerNews Podcast Episode
                  #232: One Drop Reaction
                  feat. David Williams            HERO                    Nas
            86.   PokerNews Podcast Episode
                  #235: R-E-S-P-E-C-T             DROP IT LIKE IT'S HOT   Snoop Dogg
            87.   PokerNews Podcast Episode
                  #244: Bad News Bureaucracy      DROP IT LIKE IT'S HOT   Snoop Dogg
            88.   PokerNews Podcast Episode
                  #263: Vote or Die feat.
                  Mukul Pahuja, Jason Mercier,
                  and Jennifer Shahade            CHANGES                 2 Pac
            89.   PokerNews Podcast Episode
                  #282: Mizzi Binks               DROP IT LIKE IT'S HOT   Snoop Dogg
            90.   PokerNews Podcast Episode
                  100: Celebration feat. Andy
                  Frankenberger                   TOUCH THE SKY           Kanye West
            91.   Pokernews podcast
                  November 4th, 2010              TOUCH THE SKY           Kanye West
            92.   PokerNews Podcast: $50K         CHAMPION                Kanye West



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                   Infringing Podcast Title      Song Title            Artist
                   Poker Player’s Championship
            93.    PokerNews Podcast: Back,
                   Bust and Bounce feat. Blair
                   Hinkle                        MILLI, A              Lil Wayne
            94.    PokerNews Podcast: Bankroll
                   Management feat. Jean-
                   Robert Bellande               POWER                 Kanye West
            95.    PokerNews Podcast: Black
                   Friday Anniversary feat.
                   Samuel Chartier               GOOD MORNING          Kanye West
            96.    PokerNews Podcast: Boom!
                   Kristy is a MiniFTOPS
                   Champion! (feat. Deuces
                   Cracked’s Jay Rosenkratz)     CHAMPION              Kanye West
            97.    PokerNews Podcast: Boom!
                   Kristy is a MiniFTOPS
                   Champion! (feat. Deuces
                   Cracked’s Jay Rosenkratz)     KID CHARLEMAGNE       Steely Dan
            98.    PokerNews Podcast: Boom!
                   Kristy is a MiniFTOPS
                   Champion! (feat. Deuces
                   Cracked’s Jay Rosenkratz)     TRILLIONAIRE          Bun B
            99.    PokerNews Podcast: EPT San
                   Remo feat. Lex Veldhuis       I WANT YOU            Common
            100.   PokerNews Podcast: Friday
                   feat. Ty Stewart              CRAZY                 Gnarls Barkley
            101.   PokerNews Podcast: Frolf
                   feat. Randall Flowers         COMING HOME           Diddy-Dirty Money
            102.   PokerNews Podcast: Get
                   Your Ass On The Internet
                   feat. Victor Ramdin           WON'T BACK DOWN       Eminem
            103.   PokerNews Podcast: Have No
                   Mercier feat. Lauren Kling    GOOD MORNING          Kanye West
            104.   PokerNews Podcast:
                   Midwestern Poker feat. Eric   FRIENDS IN LOW
                   “basebaldy” Baldwin           PLACES                Garth Brooks
            105.   PokerNews Podcast: Monkey
                   Tilt feat. Randy Lew and
                   Adam Geyer                    CLAP BACK             Ja Rule
            106.   PokerNews Podcast:
                   November Nine Dinner Break                          The Alan Parsons
                   Special                       SIRIUS                Project
            107.   PokerNews Podcast:
                   Planet…arium feat. Jay
                   Rosenkrantz                   TOUCH THE SKY         Kanye West



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                                            SCHEDULE D

                   Infringing Podcast Title       Song Title             Artist
            108.   PokerNews Podcast: Point
                   and Grab featuring Tony G      WORDS I NEVER SAID     Lupe Fiasco
            109.   PokerNews Podcast: Rio
                   Rookie feat. Zach Gruneberg    STAR IS BORN, A        Jay-Z
            110.   PokerNews Podcast: Run
                   Ashton, Run feat. Ashton
                   Griffin and Mer Brit           CLAP BACK              Ja Rule
            111.   PokerNews Podcast:
                   Songified feat. Andre Akkari   CH-CHECK IT OUT        Beastie Boys
            112.   PokerNews Podcast: Super
                   Maria feat. Maria Ho           GOOD LIFE              Kanye West
            113.   PokerNews Podcast: Super
                   Maria feat. Maria Ho           MAKE HER SAY           Kid Cudi
            114.   PokerNews Podcast: Super
                   Maria feat. Maria Ho           PARIS, TOKYO           Lupe Fiasco
            115.   PokerNews Podcast: That’s
                   Not a Knife feat. Maria Ho     CLAP BACK              Ja Rule
            116.   PokerNews Podcast: The Big
                   Event feat. Chris
                   Moneymaker                     MONEY MAKER            Ludacris
            117.   PokerNews Podcast: UB
                   Layoffs feat. Maria Ho         MAGIC                  B.O.B.
            118.   PokerNews Podcast: Wash
                   Your Ball Pits feat. Andrew
                   Seidman                        MOSH                   Eminem
            119.   PokerNews Podcast: We Will
                   Rock You feat. Daniel
                   Negreanu                       CLAP BACK              Ja Rule
            120.   PokerNews Podcast: We’ll
                   Do it Live! 2011 WSOP
                   Preview Show                   HOMECOMING             Kanye West
            121.   Remko Report Episode #1:
                   Ryan Riess                     TOUCH THE SKY          Kanye West
            122.   Remko Report Episode #10:
                   Hermance Blum and Frank
                   Op de Woerd                    TOUCH THE SKY          Kanye West
            123.   Remko Report Episode #11:
                   Dong Kim                       TOUCH THE SKY          Kanye West
            124.   Remko Report Episode #11:
                   Vanessa Rousso                 TOUCH THE SKY          Kanye West
            125.   Remko Report Episode #13:
                   REG Charity                    TOUCH THE SKY          Kanye West
            126.   Remko Report Episode #14:
                   Fatima Moreira de Melo         TOUCH THE SKY          Kanye West




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                   Infringing Podcast Title        Song Title           Artist
            127.   Remko Report Episode #15:
                   Jason Wheeler                   TOUCH THE SKY        Kanye West
            128.   Remko Report Episode #16:
                   Jason Les                       TOUCH THE SKY        Kanye West
            129.   Remko Report Episode #17:
                   Shannon Shorr                   TOUCH THE SKY        Kanye West
            130.   Remko Report Episode #18:
                   Brian Rast                      TOUCH THE SKY        Kanye West
            131.   Remko Report Episode #19:
                   Eli Elezra                      TOUCH THE SKY        Kanye West
            132.   Remko Report Episode #2:
                   Danny McDonagh                  TOUCH THE SKY        Kanye West
            133.   Remko Report Episode #2:
                   Jorryt van Hoof                 TOUCH THE SKY        Kanye West
            134.   Remko Report Episode #20:
                   Norman Chad                     TOUCH THE SKY        Kanye West
            135.   Remko Report Episode #21:
                   Nolan Dalla                     TOUCH THE SKY        Kanye West
            136.   Remko Report Episode #22:
                   Talal Shakerchi                 TOUCH THE SKY        Kanye West
            137.   Remko Report Episode #23:
                   November Niner Max
                   Steinberg                       TOUCH THE SKY        Kanye West
            138.   Remko Report Episode #4:
                   Terrence Chan                   TOUCH THE SKY        Kanye West
            139.   Remko Report Episode #5:
                   Jason Koon                      TOUCH THE SKY        Kanye West
            140.   Remko Report Episode #6:
                   Noah Schwartz                   TOUCH THE SKY        Kanye West
            141.   Remko Report Episode #7:
                   Daniel Negreanu                 TOUCH THE SKY        Kanye West
            142.   Remko Report Episode #8:
                   George Danzer                   TOUCH THE SKY        Kanye West
            143.   Remko Report Episode #9:
                   Mike Leah                       TOUCH THE SKY        Kanye West
            144.   Roger Sanchez Live at Teatre    Here For You         Gorgon City
                   Principal Barcelona 2014 Part
                   2
            145.   Strategy With Kristy feat.
                   Jesse Martin                    I CAN                Nas
            146.   Strategy With Kristy feat.
                   Lauren Kling                    I CAN                Nas
            147.   Strategy With Kristy feat.
                   Paul Berende and Sorel Mizzi    I CAN                Nas




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                   Infringing Podcast Title        Song Title        Artist
            148.   Strategy with Kristy Podcast
                                                                     Nas
                   Part 2 with Tommy Angelo        I CAN
            149.   Strategy with Kristy Podcast:
                   Adrienne Rowsome
                   Discusses Seven-Card Stud
                   Eight-or-Better                 I CAN             Nas
            150.   Strategy With Kristy Podcast:
                   Nick Rampone                    I CAN             Nas
            151.   Strategy with Kristy Podcast:
                   Observations of Successful
                   Live Pros                       I CAN             Nas
            152.   Strategy With Kristy Podcast:
                   Team PokerStars Online’s
                   Mickey Petersen                 I CAN             Nas
            153.   Strategy with Kristy: A Must
                   Listen Before WSOP Main                           Nas
                   Event with Jared Tendler        I CAN
            154.   Strategy With Kristy: Aaron
                   Jones                           I CAN             Nas
            155.   Strategy With Kristy: Aaron
                   Jones Part II                   I CAN             Nas
            156.   Strategy with Kristy: Aaron
                   Steinberg Discusses Poker
                   Psychology Coaching             I CAN             Nas
            157.   Strategy With Kristy: Alec
                   Torelli                         I CAN             Nas
            158.   Strategy With Kristy: Alec
                   Torelli Part II                 I CAN             Nas
            159.   Strategy With Kristy:
                   Amanda Musumeci                 I CAN             Nas
            160.   Strategy with Kristy: Andrew
                   “BalugaWhale” Seidman pt.
                   II                              I CAN             Nas
            161.   Strategy With Kristy: Andrew
                   Brokos                          I CAN             Nas
            162.   Strategy With Kristy: Andrew
                   Robl                            I CAN             Nas
            163.   Strategy With Kristy: Andrew
                   Seidman talks MTTs              I CAN             Nas
            164.   Strategy With Kristy: APPT
                   Seoul                           I CAN             Nas
            165.   Strategy with Kristy: Ari
                   Engel Discusses Tournament
                   Strategy                        I CAN             Nas
            166.   Strategy With Kristy: Ben       I CAN             Nas



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                   Infringing Podcast Title         Song Title        Artist
                   Wilinofsky
            167.   Strategy With Kristy: Blair
                   Hinkle                           I CAN             Nas
            168.   Strategy With Kristy: Chris
                   George                           I CAN             Nas
            169.   Strategy With Kristy:
                   Christina Lindley                I CAN             Nas
            170.   Strategy With Kristy: Cylus
                   Watson                           I CAN             Nas
            171.   Strategy with Kristy: Danielle
                   Andersen Discusses
                   Longevity and Balance in
                   Poker                            I CAN             Nas
            172.   Strategy with Kristy: Darren
                   Rabinowitz on Break in
                   Aussie Millions Main Event       I CAN             Nas
            173.   Strategy With Kristy: Darryll
                   Fish                             I CAN             Nas
            174.   Strategy With Kristy: Darryll
                   Fish Talks WPT Lucky
                   Hearts Poker Open                I CAN             Nas
            175.   Strategy With Kristy: David
                   “Doc” Sands                      I CAN             Nas
            176.   Strategy With Kristy: David
                   Randall                          I CAN             Nas
            177.   Strategy With Kristy: David
                   Randall at WSOP                  I CAN             Nas
            178.   Strategy With Kristy: David
                   Randall Discusses Deep Run       I CAN             Nas
            179.   Strategy With Kristy: Denny
                   Man                              I CAN             Nas
            180.   Strategy With Kristy: Easy
                   Game feat. Andrew
                   “BalugaWhale” Seidman            I CAN             Nas
            181.   Strategy With Kristy: EPT
                   Barcelona feat. Mike
                   McDonald and Mike Watson         I CAN             Nas
            182.   Strategy With Kristy: EPT
                   Grand Final feat. Daniel
                   Negreanu, Randy Lew, and
                   Mickey Petersen                  I CAN             Nas
            183.   Strategy With Kristy: Eric
                   Froehlich                        I CAN             Nas
            184.   Strategy With Kristy:
                   Floating OOP feat. Reid          I CAN             Nas



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                   Infringing Podcast Title        Song Title        Artist
                   Young
            185.   Strategy With Kristy: Frank
                   Rusnak                          I CAN             Nas
            186.   Strategy with Kristy: Galen
                   Hall Talks About How to Get
                   Better at Poker Quickly         I CAN             Nas
            187.   Strategy With Kristy: Griffin
                   Benger                          I CAN             Nas
            188.   Strategy With Kristy: Gus
                   Voelzel                         I CAN             Nas
            189.   Strategy With Kristy: Jared
                   Bleznick                        I CAN             Nas
            190.   Strategy With Kristy: Jared
                   Tendler                         I CAN             Nas
            191.   Strategy With Kristy: Jared
                   Tendler                         I CAN             Nas
            192.   Strategy With Kristy: Jared
                   Tendler Part II                 I CAN             Nas
            193.   Strategy With Kristy: Jason
                   Koon                            I CAN             Nas
            194.   Strategy With Kristy: Jason
                   Koon                            I CAN             Nas
            195.   Strategy with Kristy: Jason
                   Lavallee Discusses a Queen-
                   High Call                       I CAN             Nas
            196.   Strategy With Kristy: Jason
                   Somerville                      I CAN             Nas
            197.   Strategy With Kristy: Jaymes
                   Rosenthal, Berk Brown, and
                   Jon Hemmer                      I CAN             Nas
            198.   Strategy With Kristy: John
                   Kim Part I                      I CAN             Nas
            199.   Strategy With Kristy: John
                   Kim Part II                     I CAN             Nas
            200.   Strategy With Kristy: John
                   Racener                         I CAN             Nas
            201.   Strategy With Kristy: Johnny
                   Lodden and Theo Jorgensen       I CAN             Nas
            202.   Strategy With Kristy:
                   Jonathan Little                 I CAN             Nas
            203.   Strategy With Kristy:
                   Jonathan Little Returns         I CAN             Nas
            204.   Strategy With Kristy: Kane
                   Kalas                           I CAN             Nas




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                   Infringing Podcast Title        Song Title        Artist
            205.   Strategy with Kristy: Kristy
                   Discusses Poker Night in
                   America Experience              I CAN             Nas
            206.   Strategy With Kristy: Live
                   Cash Games feat. Andrew
                   Moreno and Lincoln Garner       I CAN             Nas
            207.   Strategy With Kristy: Live
                   Cash Games Pt. III feat. Nick
                   DiVella                         I CAN             Nas
            208.   Strategy With Kristy: Live
                   Cash Games Pt. IV feat. Matt
                   Mercurio and Berk Brown         I CAN             Nas
            209.   Strategy With Kristy: Max
                   Steinberg                       I CAN             Nas
            210.   Strategy With Kristy: Max
                   Steinberg discusses deep runs
                   at the WSOP                     I CAN             Nas
            211.   Strategy with Kristy: Max
                   Steinberg Talks About
                   Busting Phil Ivey in the
                   WSOP Main Event                 I CAN             Nas
            212.   Strategy with Kristy: Melanie
                   Weisner Analyzes Hands                            Nas
                   from WSOP                       I CAN
            213.   Strategy With Kristy: Mental
                   Game of Poker 2 feat. Jared
                   Tendler                         I CAN             Nas
            214.   Strategy With Kristy: Mike
                   “Timex” McDonald                I CAN             Nas
            215.   Strategy With Kristy: Mike
                   McDonald Part 1                 I CAN             Nas
            216.   Strategy with Kristy: Mike
                   Watson Discusses Playing                          Nas
                   Big Stacks                      I CAN
            217.   Strategy With Kristy: Nick
                   DiVella                         I CAN             Nas
            218.   Strategy With Kristy: Nick
                   DiVella                         I CAN             Nas
            219.   Strategy With Kristy: Nick
                   Rampone Part 2                  I CAN             Nas
            220.   Strategy with Kristy: Nikolai
                   Yakovenko Discusses Open
                   Face Chinese Poker Strategy
                   Part 1                          I CAN             Nas
            221.   Strategy with Kristy: Nikolai   I CAN             Nas



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                   Infringing Podcast Title        Song Title        Artist
                   Yakovenko Discusses Open
                   Face Chinese Poker Strategy
                   Part 2
            222.   Strategy With Kristy: Nikolai
                   Yakovenko Discusses
                   Pineapple Open-Face Chinese
                   Poker                           I CAN             Nas
            223.   Strategy With Kristy: Olivier
                                                                     Nas
                   Busquet                         I CAN
            224.   Strategy With Kristy: Open
                   Face Chinese Poker feat.
                   Jason Mercier and Shaun
                   Deeb                            I CAN             Nas
            225.   Strategy With Kristy: Paul
                   Volpe                           I CAN             Nas
            226.   Strategy With Kristy:
                   Penultimate Episode with
                   Andrew Seidman                  I CAN             Nas
            227.   Strategy With Kristy: Phil
                   Collins                         I CAN             Nas
            228.   Strategy With Kristy: Phil
                   Collins on MTTs                 I CAN             Nas
            229.   Strategy With Kristy: PLO
                   with Lex Veldhuis               I CAN             Nas
            230.   Strategy with Kristy: Poker
                   Math Part 1                     I CAN             Nas
            231.   Strategy with Kristy: Poker
                   Math Part 2 with Aaron Wilt     I CAN             Nas
            232.   Strategy With Kristy:
                   Prepping for the WSOP           I CAN             Nas
            233.   Strategy With Kristy: Quinn
                   Sivage                          I CAN             Nas
            234.   Strategy With Kristy: Quinn
                   Sivage Pt. II                   I CAN             Nas
            235.   Strategy With Kristy: Ramzi
                   Jelassi                         I CAN             Nas
            236.   Strategy With Kristy: Randal
                   Flowers                         I CAN             Nas
            237.   Strategy With Kristy: Reid
                   Young                           I CAN             Nas
            238.   Strategy With Kristy: Reid
                   Young Part II                   I CAN             Nas
            239.   Strategy With Kristy: Ronit
                   Chamani                         I CAN             Nas




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                   Infringing Podcast Title        Song Title             Artist
            240.   Strategy With Kristy: Ryan
                   “g0lfa” D’Angelo                I CAN                  Nas
            241.   Strategy With Kristy: Staking
                   With Daniel Negreanu and
                   Jason Somerville                I CAN                  Nas
            242.   Strategy With Kristy: Taxes     I CAN                  Nas
            243.   Strategy With Kristy:
                   Terrence Chan                   I CAN                  Nas
            244.   Strategy With Kristy: The
                   Final Episode feat. Andrew
                   Seidman                         I CAN                  Nas
            245.   Strategy With Kristy:
                   Timothy Adams                   I CAN                  Nas
            246.   Strategy With Kristy: Tommy
                   Angelo pt. I                    I CAN                  Nas
            247.   Strategy With Kristy:
                   Traveling feat. Vanessa
                   Rousso, Lex Veldhuis, and
                   Liv Boeree                      I CAN                  Nas
            248.   Strategy with Kristy: Two
                   Hands from the One Drop
                   High Roller                     I CAN                  Nas
            249.   Strategy with Kristy:
                   WiltOnTilt Part I               I CAN                  Nas
            250.   Strategy with Kristy: WSOP
                   Quickie with Darryll Fish       I CAN                  Nas
            251.   Timoshenko Wins!!!              The Number Song        DJ Shadow
            252.   Welcome to the 2009
                   PokerStars.net LAPT Playa
                   Conchal                         Paradise City          Guns N` Roses
            253.   World Series of BBQ and
                   Lederer Charity Tournament      Sweet Caroline         Neil Diamond




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